                 Case 2:12-cr-00114-TLN Document 59 Filed 03/12/13 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   TODD A. PICKLES
     Assistant United States Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   Main: (916) 554-2700
     Facsimile: (916) 554-2900
 5

 6

 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          )   CASE NO. 2:12-CR-00114 LKK
                                                        )
12                Plaintiff,                            )   STIPULATION TO CONTINUE
                                                        )   STATUS REGARDING JUDGMENT
13   v.                                                 )   AND SENTENCING
                                                        )
14   COLIN McELWEE,                                     )
                                                        )
15                Defendant.                            )
                                                        )
16                                                      )
17

18                                                      STIPULATION

19          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

20   through his counsel of record, hereby stipulate as follows:

21          1.       On September 19, 2012, the defendant pled guilty to Count One in the Indictment. The

22   defendant has not yet been sentenced.

23          2.       By previous order, this matter was set for status regarding sentencing on March 12, 2013.

24          3.       By this stipulation, the parties request that the status be continued to May 14, 2013, which

25   is the date the co-defendant’s case is set for status before this Court.

26          4.       The Speedy Trial Act does not apply to this time period because the defendant has already

27   been convicted based on his plea of guilty.

28


                                                            1
             Case 2:12-cr-00114-TLN Document 59 Filed 03/12/13 Page 2 of 2


 1         IT IS SO STIPULATED.

 2   Dated: March 8, 2013                        BENJAMIN B. WAGNER
                                                 United States Attorney
 3
                                                 /s/ Todd A. Pickles
 4                                               TODD A. PICKLES
                                                 Assistant United States Attorney
 5
     Dated: March 8, 2013                        JOSEPH SCHLESINGER
 6                                               Acting Federal Public Defender
 7                                               /s/ Todd A. Pickles for
                                                 MATTHEW C. BOCKMON
 8                                               Assistant Federal Defender
 9                                               Counsel for Defendant McElwee
10
                                             ORDER
11
           IT IS SO FOUND AND ORDERED this 8th day of March, 2013
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                2
